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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                            Case No. 07-20099-18-JWL

Julio Cesar Loya-Contreras,

                     Defendant.

                                              ORDER

       In March 2010, Mr. Loya-Contreras filed a motion for “help locating money in

possession at the time of arrest.” The court denied the motion as moot after the government

conceded Mr. Loya-Contreras right to lawful possession of the $968.75 due Mr. Loya-Contreras

and indicated that it had taken steps to return the money to him—namely, by requesting that the

Wyandotte County Sheriff’s Office, as custodian of the money, send the funds to be held for him

at the Federal Correctional Institution in Fort Worth (FCI Fort Worth). Mr. Loya-Contreras has

now filed another motion (doc. 931) seeking to have the $968.75 returned to him on the grounds

that he has not yet received the funds.

       In response, the government indicates that, until its receipt of the motion by Mr. Loya-

Contreras, it had assumed that the Wyandotte County Sheriff’s Office had sent the money to the

defendant.    Upon receipt of the motion, the government, as indicated in its response,

investigated the location and status of the funds and discovered that, for whatever reason, the

defendant’s funds were turned over to the Kansas State Treasurer’s Office. According to the

government, that office did not release the funds to Mr. Loya-Contreras due to a discrepancy
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between the defendant’s actual date of birth and the date of birth under which he was booked at

the Wyandotte County Jail.

      In any event, the government assures the court that the United States Marshal Service has

satisfied the Treasurer’s Office that Mr. Loya-Contreras is the true owner of the money and that

the Treasurer’s Office has agreed to send the funds to Mr. Loya-Contreras at the facility where

he is presently incarcerated.    Counsel for the Treasurer’s Office has confirmed to the

government that the Office will send the money without the need for a court order. In its

response, the government suggests that if Mr. Loya-Contreras did not file a reply brief to the

government’s response, it should be assumed that he has now received the funds and the motion

should be denied as moot.

      Mr. Loya-Contreras’s reply deadline passed nearly two weeks ago and he has not filed a

reply with the court or filed any other submission contradicting any of the statements made in

the government’s response. The court, then, assumes that Mr. Loya-Contreras has received his

funds from the Treasurer’s Office and denies his motion as moot.



      IT IS SO ORDERED.



      Dated this 11th day of April, 2013, at Kansas City, Kansas.



                                               s/ John W. Lungstrum
                                               John W. Lungstrum
                                               United States District Judge



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